 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 1 of 9 PageID #: 338




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA                                                              PLAINTIFF


v.                                                           NO. 3:23-CR-00014DJH
                                                             Electronically Filed

BRYAN DOUGLAS CONLEY                                                                DEFENDANT

                         RESPONSE TO DEFENDANT’S MOTION TO
                         DISMISS FOR VINDICTIVE PROSECUTION

          Defendant Conley has asked this Court to dismiss Count 2 of the Indictment returned by a

federal grand jury pursuant to Federal Rule of Criminal Procedure 12(b)(3)(iv), asserting that it is

a product of “vindictive prosecution.” The United States opposes the Defendant’s Motion. It is

unsupported in law and fact, and the Court should deny it.

          On January 17, 2023, Defendant Conley filed a Motion to Dismiss his previous case for

speedy trial violations. The United States agreed with his motion. This Court granted that motion

on February 1, 2023 and dismissed all 14 of the Defendant’s pending charges without prejudice.

Subsequently, on February 7, 2023, the United States filed a new indictment against the Defendant.

It reindicted him on the 14 dismissed charges and one additional charge for “transportation of

minors,” in violation of 18 U.S.C 2423. The Defendant claims that the additional charge is a result

of vindictive prosecution, brought in retaliation for exercising his rights under the Speedy Trial

Act. He thus states a claim of prosecutorial vindictiveness and requests that the Court dismiss the

additional charge.

                                           ARGUMENT

     I.      Probable Cause Supports Defendant Conley’s Increased Charges.

                                                 1
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 2 of 9 PageID #: 339




           A prosecutor is generally free to exercise discretion with regards to whether and what

to prosecute, so long as he or she has probable cause to believe that the defendant has committed

the statutorily defined offense. Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978). A prosecutor’s

conscious exercise of discretion is not unconstitutional unless it rests on an “unjustifiable standard

such as race, religion, or other arbitrary classification.” Id. at 668-669. In this case, the United

States’ exercise of discretion rests on probable cause and evidence that shows that Defendant

Conley transported a minor across state lines for purposes of prostitution, in violation of 18 U.S.C

2423.

           Further, the grand jury found that Defendant Conley should be indicted on the charge.

In United States v. Roach, 502 F.3d at 445, the issuance of new charges approved by a grand jury

were “presumed to have rested on probable cause.” Like the Defendant in Roach, Defendant

Conley does not allege that the grand jury was manipulated or otherwise prejudiced against him.

Nor does he dispute the evidence or charges. Instead, he claims that when the United States

brought valid charges against him supported by evidence, it did so vindictively. The United States

acted constitutionally and within the bounds of its discretion when it charged Defendant Conley

with transportation of minor.

   II.     Defendant Conley Cannot Show Prosecutorial Vindictiveness.

           The Supreme Court has held that due process prohibits an individual from being

“punished for exercising a protected statutory or constitutional right.” United States v Goodwin,

457 U.S. 368, 372 (1982). But the mere “presence of a punitive motivation. . . does not provide

an adequate basis for distinguishing governmental action that is fully justified as a legitimate

response to perceived criminal conduct from governmental action that is an impermissible


                                                  2
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 3 of 9 PageID #: 340




response to noncriminal, protected activity.” Goodwin, 457 U.S. 368, 372–73.

       “The imposition of punishment is the very purpose of virtually all criminal proceedings.”

Goodwin, 457 U.S. 368, 372. A punitive motive is not sufficient. There are only two ways to

prove vindictive prosecution. Bragan v. Poindexter, 249 F.3d 476, 481 (6th Cir. 2001). A

defendant may establish vindictive prosecution by proving “actual vindictiveness,” or the court

can find a presumption of by applying the “realistic likelihood of vindictiveness test.” United

States v. Poole, 407 F.3d 767, 774 (6th Cir. 2005).

               A. Actual Vindictiveness

       Though “exceedingly difficult,” a defendant can prove actual vindictiveness with

“objective evidence that a prosecutor acted in order to punish the defendant for standing on his

legal rights.” Bragan. at 481. In Bordenkircher v. Hayes, 434 U.S. 357, the Court for the first

time considered an allegation of vindictiveness that arose in a pretrial setting. In rejecting a

presumption of vindictiveness, the Court acknowledged that a defendant could prove an improper

prosecutorial motive with objective evidence. Goodwin, 456 U.S. 368, 380 at n. 12. There, the

prosecutor carried out a threat, made during plea negotiations, to bring additional charges against

a defendant who refused to plead guilty to his original charge. Id. at 377. “It was not disputed

that the additional charge was justified by the evidence, that the prosecutor was in possession of

this evidence at the time the original indictment was obtained, and that the prosecutor sought the

additional charge because of the accused's refusal to plead guilty to the original charge.” Id. at

377. The defendant argued instead that the prosecutor’s conduct was vindictive. Id. at 377. But

the Court found that the additional charges were not brought solely to ‘penalize’ the defendant and

were, thus, justified as a proper exercise of prosecutorial discretion. Id. at n. 12.


                                                  3
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 4 of 9 PageID #: 341




       Defendant Conley argues that the Superseding Indictments and charges themselves are

objective evidence of actual vindictiveness because the United States possessed the relevant

evidence at the time of the initial indictment.      In Bordenkircher, the prosecutor expressly

threatened additional charges based on evidence from the original indictment, and that did not

sufficiently prove actual vindictiveness. That the United States previously had probable cause to

charge Defendant Conley with Count 2 initially and did not, is not proof of actual vindictiveness.

               B. Presumption of Vindictiveness

       Second, “the court can find a presumption of vindictiveness by applying the realistic

likelihood of vindictiveness standard, which focuses on the prosecutor's stake in deterring the

exercise of a protected right and the unreasonableness of his actions.” United States v. Poole, 407

F.3d 767, 774 (6th Cir. 2005). “To prove a reasonable likelihood of vindictiveness, the petitioner

must establish that (1) the prosecutor has some ‘stake’ in deterring the petitioner's exercise of his

rights and (2) the prosecutor's conduct was somehow ‘unreasonable’.” United States v. Andrews,

633 F.2d 449, 454 (6th Cir. 1980).

                       1. The United States Had No Stake in Deterring Defendant Conley from

                           Exercising His Rights Under the Speedy Trial Act.

       In Goodwin, the Court addressed prosecutorial vindictiveness in a pretrial setting. In that

case, a prosecutor raised a defendant’s previous misdemeanor charge to a felony. Even though the

case changed hands from a prosecutor who could not charge felony crimes to one that could, the

Defendant still alleged that the increased charges were retaliation for requesting the trial. Id. He

argued that there should be a presumption of vindictiveness and his conviction set aside. Id. The

Court disagreed and refused to adopt a bright line presumption of vindictiveness in the pretrial


                                                 4
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 5 of 9 PageID #: 342




setting. Id.

       The Court distinguished the pretrial from the posttrial setting, observing that because

convictions are reviewed de novo, prosecutors have a “considerable stake” in discouraging

defendants from appealing their convictions. Goodwin. at 376. The “increased expenditures of

prosecutorial resources” required to prepare for a de novo retrial justify a presumption of

prosecutorial vindictiveness, so that a fear of retaliation does not “unconstitutionally deter a

defendant's exercise of the right to appeal or collaterally attack his first conviction.” Id. at 376,

373, citing North Carolina v. Pearce, 395 U.S., at 723–724 (1969).

       No similar motive to deter a defendant from exercising a right exists prior to trial. Thus,

“a change in the charging decision made after an initial trial is completed is much more likely to

be improperly motivated than is a pretrial decision.” Goodwin. at 381. Further, pretrial charging

changes are to be expected. The Court stressed that “[a] prosecutor should remain free before trial

to exercise the broad discretion entrusted to him . . . [and that a]n initial decision should not freeze

future conduct.” Id. at 382.

       The Court also recognized that the “institutional bias inherent in the judicial system against

the retrial of issues that have already been decided” justifies a presumption of prosecutorial

vindictiveness in posttrial settings. Goodwin. at 376. It acknowledged that such a bias might

“subconsciously motivate a vindictive prosecutorial . . . response to a defendant's exercise of his

right to obtain a retrial of a decided question.” Id. at 377.

       In a pretrial setting, that bias does not exist. In fact, prior to trial, a defendant “is expected

to invoke procedural rights that inevitably impose some ‘burden’ on the prosecutor.” Goodwin. at

381. It would be unrealistic to presume that a prosecutor’s probable response to pretrial motions


                                                   5
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 6 of 9 PageID #: 343




is to seek to penalize and to deter, especially considering that the “invocation of procedural rights

is an integral part of the adversary process in which our criminal justice system operates.” Id. at

381.

         In Goodwin, the Court observed that a defendant may prove prosecutorial vindictiveness

prior to by trial with an objective showing that the “prosecutor's charging decision was motivated

by a desire to punish him for doing something that the law plainly allowed him to do.” Goodwin.

at 384. But the “[m]ere possibility that prosecutorial or judicial conduct may be vindictive is

insufficient to trigger judicial sanctions.” United States v. Andrews, 633 F.2d. 449, 455 (6th Cir.

1980).

         Ultimately, the Sixth Circuit held, in Andrews that a “near per se appearance of

vindictiveness standard . . . is too harsh.” The court elaborated. To say that “where the prosecutor

adds charges after the defendant's exercise of a procedural right, there arises an appearance of

vindictiveness which the government has the ‘heavy burden’ to rebut . . . operates to unduly limit

prosecutorial discretion.” Id. at 455.

         Conley has failed to demonstrate a 'realistic likelihood of vindictiveness.' The United

States does not have a stake in deterring Conley's exercise of his statutory or constitutional rights.

It is well established that the addition of new charges to deter a defendant from going to trial is an

insufficient basis for a vindictive prosecution claim. Bordenkircher v. Hayes, 434 U.S. 357, 363

(1978); U.S. v. Goodwin, 457 U.S. 380 (1982); U.S. v. Walls, 293 F.3d 959, 970 (6th Cir. 2002).

Moreover, courts have generally held that prosecutors do not have a stake in limiting "garden-

variety pretrial motions." U.S. v. Suarez, 263 F.3d 468 (6th Cir. 2001) (holding that the defendant's

motions to suppress and to dismiss posed only a minimal burden on the prosecution); U.S. v. Rosse,


                                                  6
    Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 7 of 9 PageID #: 344




2017 WL 5625719 (6th Cir. 2017) (holding that the defendant's motions contesting detention and

alleging speedy trial violations imposed only a minimal burden on the prosecution). The United

States has no stake in Defendant Conley’s lack of speedy trial motion. In fact, the United States

did not object to the defendant’s motion to dismiss. The motion and dismissal of his previous case

without prejudice imposed a minimal burden on the United States.

                        2. The United States Acted Reasonably in Indicting Defendant Conley for

                            Interstate Transportation of a Minor

        In United States v. Rosse, 716 F. App’x 453, after a defendant’s case was dismissed

without prejudice for statutory speedy trial violations, a presumption of vindictiveness did not

apply when a prosecutor sought a superseding indictment, which exposed the defendant to harsher

penalties. The Court found that the prosecutor's decision to bring the indictment was not

unreasonable, even though evidence of more severe charges was available and known to the

government at the time of the original indictment and did not demonstrate a reasonable likelihood

of prosecutorial vindictiveness. Id. at 458.

        The facts of Conley’s case are nearly identical to this case. Just like in Rosse, the United

States’ decision to file a superseding indictment against Defendant Conley exposing him to harsher

penalties is not unreasonable, even though it is based on evidence available and known at the time

of the original indictment; especially because that evidence has since been bolstered by minor

victim.1 Prior to the new indictment, Conley faced a maximum penalty of life with a consecutive



1
  During a February 2023 interview, the minor victim confirmed herself in sexually explicit video recovered
from Conley’s phone. This confirms that Defendant Conley participated in “other criminal activity,”
referenced in Count 2 of the Indictment, when he transported the minor victim to Tennessee to engage in
illegal sexual activity. She also confirmed the profile depicting a pig that Conley used to pose as Bryant
taken from Conley’s phone.
                                                    7
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 8 of 9 PageID #: 345




two-year sentence to that sentence. Although, there is now a minimum penalty of ten years, Conley

still faces the same maximum penalty of life.

                                         CONCLUSION

       The United States did not vindictively file a superseding indictment with harsher penalties.

The Sixth Circuit has noted that the “vindictive prosecution” doctrine was designed to prevent

retaliation against the defendant for the assertion of his protected rights. United States v. Rosse,

34 F. Supp. 3d 862, 872 (W.D. Tenn. 2014), vacated and remanded (July 29, 2015). In this case,

Defendant Conley was not prevented from asserting his right to a dismissal for Speedy Trial Act

violations. Further, all of the charges filed against Defendant Conley after the dismissal of his

case are supported by probable cause and evidence. A grand jury reaffirmed that finding of

probable cause and recommended indicting him on these charges. The United States had no stake

in deterring Defendant Conley from exercising rights and acted reasonably in charging him with

interstate transportation of a minor. The Court should deny Defendant Conley’s motion.



                                                             Respectfully submitted,

                                                             JOSHUA JUDD
                                                             United States Attorney

                                                             s/Joshua Judd
                                                             Assistant U.S. Attorney
                                                             717 West Broadway
                                                             Louisville, Kentucky 40202
                                                             PH: (502) 582-5911




                                                 8
 Case 3:23-cr-00014-DJH Document 32 Filed 03/27/23 Page 9 of 9 PageID #: 346




                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 27, 2023, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system, which will send a notice of electronic filing to counsel
for the defendant.


                                              s/Joshua Judd_________
                                              Assistant U.S. Attorney




                                                 9
